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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

JAMES FRAZIER,

        Petitioner,
                                                           Case No. 21-cv-528-bbc
   v.

BUREAU OF PRISONS, RRM KANSAS
CITY, RESIDENTIAL REENTRY OFFICE,

        Respondent.


                             JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing James

Frazier’s petition for a writ of habeas corpus under 28 U.S.C. § 2241 without prejudice.




        /s/                                                   10/6/2021
        Peter Oppeneer, Clerk of Court                              Date
